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           Attorneys for Plaintiffs
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15
                          UNITED STATES DISTRICT COURT
16
                        CENTRAL DISTRICT OF CALIFORNIA
17
                                  SOUTHERN DIVISION
18
     TIMOTHY T. MERRITT JR. and
19   CATHY MITCHELL,                       Case No. 8:18-cv-01960-JVS-(JDEx)
20
                Plaintiffs,
21                                         PLAINTIFFS’ REQUEST FOR
22        v.                               TELEPHONIC APPEARANCE AT RULE
                                           26(f) SCHEDULING CONFERENCE
23
     WELLS FARGO BANK,                     Conference Date: March 4, 2019
24                                         Time: 10:30 a.m.
25             Defendant.                  Courtroom: 10C, Santa Ana Division
                                           Judge: Hon. James V. Selna
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27
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     PLAINTIFFS’ REQUEST FOR TELEPHONIC APPEARANCE AT SCHEDULING CONFERNCE
                            CASE NO: 8:18-CV-01960-JVS-(JDEX)
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 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2
               REQUEST FOR TELEPHONIC APPEARANCE:
 3
 4          Counsel for Plaintiffs, Timothy T. Merritt Jr. and Cathy Mitchell hereby
 5   requests that he be permitted to attend the March 4, 2019, Rule 26(f) Scheduling
 6
     Conference via telephone because Counsel’s office is located in Fort Lauderdale,
 7
 8   Florida, and Counsel’s personal appearance in California for a Scheduling Conference
 9   would require two 5-hour airplane trips and an overnight hotel stay in California. As
10
     such, a personal appearance is burdensome to Plaintiffs’ Counsel and expensive to
11
12   Plaintiffs.
13          However, if the Court requests Plaintiffs’ Counsel’s personal appearance, he
14
     will travel to California as needed. Alternatively, Plaintiffs’ local counsel can make a
15
16   personal appearance, although the undersigned will be lead trial attorney.
17          The undersigned fully intends to attend in person the May 13, 2019, hearing on
18
     Defendant’s Motion to Dismiss First Amended Complaint (ECF No. 19).
19
20          This request is made following the conference of counsel pursuant to L.R. 7-3.
21   Counsel for Defendant has indicated that Defendant has no objection to the
22
     undersigned appearing at the Scheduling Conference via telephone.
23
24          WHEREFORE, Plaintiffs respectfully move this Court to enter an order
25
     allowing Yechezkel Rodal to appear at the March 4, 2019, Rule 26(f) Scheduling
26
     Conference via telephone.
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28                                            2
      PLAINTIFFS’ REQUEST FOR TELEPHONIC APPEARANCE AT SCHEDULING CONFERNCE
                             CASE NO: 8:18-CV-01960-JVS-(JDEX)
Case 8:18-cv-01960-JVS-JDE Document 24 Filed 02/26/19 Page 3 of 4 Page ID #:237



 1       DATED: February 26, 2019
 2
 3                                     By: /s/ Yechezkel Rodal
                                           Yechezkel Rodal*
 4
                                           Florida Var No.: 091210
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15
16                                           Attorneys for Plaintiffs

17   * Admitted pro hac vice.
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      PLAINTIFFS’ REQUEST FOR TELEPHONIC APPEARANCE AT SCHEDULING CONFERNCE
                             CASE NO: 8:18-CV-01960-JVS-(JDEX)
Case 8:18-cv-01960-JVS-JDE Document 24 Filed 02/26/19 Page 4 of 4 Page ID #:238



 1                                  Certificate of Service
 2
           On February 26, 2019, I caused this document to be filed and served on all
 3
     ECF-registered counsel of record using the Court’s CM/ECF system.
 4
 5
 6                                               By:   /s/ Yechezkel Rodal
 7                                                     Yechezkel Rodal
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      PLAINTIFFS’ REQUEST FOR TELEPHONIC APPEARANCE AT SCHEDULING CONFERNCE
                             CASE NO: 8:18-CV-01960-JVS-(JDEX)
